      Case 1:19-cv-00755-RC Document 1 Filed 03/18/19 Page 1 of 6




                UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLUMBIA


HARI DASARI
AJITA DENUGU
OMKAR DASARI
6300 FM 423 Apt 3208
Frisco, TX 75034
                                      Case No.:


Plaintiff,                            COMPLAINT

      vs.
KIRSTJEN M. NIELSEN, Secretary
of Homeland Security
Washington, DC 20528

L. FRANCIS CISSNA, Director of the
United States Citizenship and
Immigration Services
20 Massachusetts Avenue, N.W.
Washington, DC 20529

GREGORY RICHARDSON, Director
of the USCIS’s Texas Service Center
4141 N St Augustine Dr,
Dallas, TX 75227

             Defendants.
              Case 1:19-cv-00755-RC Document 1 Filed 03/18/19 Page 2 of 6



1                                      COMPLAINT
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                               DESCRIPTION OF ACTION
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           1. This complaint is brought by HARI DASARI, ANJITA DENUGU and
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     OMKAR DASARI. against the Defendants to compel a decision on their
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7    applications for adjustment of status, which has been pending with the defendants
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     for over 28 months.
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                                      JURISDICTION

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           2. This being a civil action against the United States arising under the the

14   Mandamus Act, 28 U.S.C. § 1361, and the Administrative Procedure Act, 5 U.S.C.
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     § 701 et seq., both laws of the United States, original jurisdiction over this matter
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     is vested in this Court by 28 U.S.C. § 1331.
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                              DESCRIPTION OF PARTIES
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           3. The plaintiffs are citizens and nationals of India who are currently located
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21   at 6300 FM 423 APT 3208 Frisco TX 75034 . Their “alien numbers” are, A
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     087339122, AXXXXXXXX, and AXXXXXXXX, respectively.
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                Case 1:19-cv-00755-RC Document 1 Filed 03/18/19 Page 3 of 6



1          4. The defendant, KIRSTJEN M. NIELSEN, is the Secretary of Homeland
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     Security, and as such has the authority to adjudicate Forms I-485, Application for
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     Adjustment of Status. She resides for official purposes in the District of Columbia.
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              5. The defendant, L. FRANCIS CISSNA, is the Director of the United
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     States Citizenship and Immigration Services (USCIS), the agency within the
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8    Department of Homeland Security which adjudicates Forms I-485, Application for

9    Adjustment of Status. He resides for official purposes in the District of Columbia.
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           6. The defendant, GREGORY RICHARDSON, is the Director of the
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12   USCIS’s Texas Service Center where HARI DASARI, ANJITA DENUGU and

13   OMKAR DASARI’S applications are currently pending, and has immediate
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     responsibility for their adjudication. He resides for official purposes in the State of
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     Texas.
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                      BRIEF STATEMENT OF RELEVANT FACTS
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              7. On October, 26, 2016, Forms I-485, Application for Adjustment of
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     Status, were filed upon HARI DASARI, ANJITA DENUGU & OMKAR
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23   DASARI’S behalf with the United States Citizenship and Immigration Services,

24   and were assigned File Numbers SRC179005655, SRC1790056558 and
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     SRC1790056561, respectively.

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              Case 1:19-cv-00755-RC Document 1 Filed 03/18/19 Page 4 of 6



1          8. As of today,    these applications remain under the jurisdiction of
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     GREGORY RICHARDSON, and unadjudicated.
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6                                      COUNT I
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8          9. Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland Security,
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     Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and
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     Immigration Services, and Defendant GREGORY RICHARDSON, Director of the
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12   United States Citizenship and Immigration Services’ Texas Service Center, are
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     each and all officers or employees of the United States and the Department of
14
     Homeland Security.
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16         10. Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland Security,
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     Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and
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     Immigration Services, and Defendant GREGORY RICHARDSON, Director of the
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     United States Citizenship and Immigration Services’ Texas Service Center, each

21   and all owe a duty to Plaintiffs HARI DASARI, ANJITA DENUGU and OMKAR
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     DASARI to adjudicate their form I-485 Application for Adjustment of Status
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     within a reasonable period of time. 5 U.S.C. § 555(b) ("With due regard for the
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               Case 1:19-cv-00755-RC Document 1 Filed 03/18/19 Page 5 of 6



1    convenience and necessity of the parties or their representatives and within a
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     reasonable time, each agency shall proceed to conclude a matter presented to it.").
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           11. According to the USCIS’s own website, current processing times for
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5    Forms I-485 at the Texas Service Center is 10 to 24.5 months.
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           12. Further, 18 U.S.C. § 1571(b) provides that: “It is the sense of Congress
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     that the processing of an immigration benefit application should be completed not
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     later than 180 days after the initial filing of the application, except that a petition

10   for a nonimmigrant visa under section 214(c) of the Immigration and Nationality
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     Act [8 USCS § 1184(c)] should be processed not later than 30 days after the filing
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     of the petition.”
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14         13. Accordingly, the over 10 to 24.5 months in which these Forms I-485,

15   Application for Adjustment of Status, have been pending with Defendant
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     KIRSTJEN M. NIELSEN, Secretary of Homeland Security, Defendant L.
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     FRANCIS CISSNA, Director of the United States Citizenship and Immigration
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19   Services, and Defendant GREGORY RICHARDSON, Director of the United

20   States Citizenship and Immigration Services’ Texas Service Center, is well beyond
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     that which these officers or employees reasonably require to adjudicate it.
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23         14. This Court has authority under 28 U.S.C. § 1361 to compel an officer or
24   employee of the United States to perform a duty owed to the Plaintiffs.
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              Case 1:19-cv-00755-RC Document 1 Filed 03/18/19 Page 6 of 6



1          15. This Court also has authority under 5 U.S.C. § 706(1) to compel agency
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     action unlawfully withheld or unreasonably delayed.
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                                 RELIEF REQUESTED

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           WHEREFORE it is respectfully requested that the Court compel Defendants
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     KIRSTJEN M. NIELSEN, Secretary of Homeland Security, L. FRANCIS
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10   CISSNA, Director of the United States Citizenship and Immigration Services, and
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     GREGORY RICHARDSON, Director of the United States Citizenship and
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     Immigration Services’ Texas Service Center, to adjudicate HARI DASARI,
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     ANJITA DENUGU and OMKAR DASARI’s Forms I-485, Application for

15   Adjustment of Status, forthwith, and to take such other action as it deems
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     appropriate.
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18   Respectfully submitted,
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     Dated: March 15, 2019
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21
                                             s/Michael E. Piston
22                                           Michael E. Piston MI0002
                                             Attorney for the Plaintiff
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